                                                                            Entered on Docket
                                                                            February 01, 2019
                                                                            EDWARD J. EMMONS, CLERK
                                                                            U.S. BANKRUPTCY COURT
                                                                            NORTHERN DISTRICT OF CALIFORNIA


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                             14
                                  and Debtors in Possession
                             15
                                                            UNITED STATES BANKRUPTCY COURT
                             16
                                                            NORTHERN DISTRICT OF CALIFORNIA
                             17                                       SAN FRANCISCO DIVISION
                             18
                                  In re:                                          Case Nos.        19 - 30088 (DM)
                             19
                                                                                                   19 - 30089 (DM)
                             20   PG&E CORPORATION,
                                                                                  Chapter 11
                             21                                 Debtor.
                                                                                  ORDER DIRECTING JOINT
                             22   Tax I.D. No. XX-XXXXXXX                         ADMINISTRATION OF CHAPTER 11
                                                                                  CASES PURSUANT TO FED. R. BANKR. P.
                             23                                                   1015(b)

                             24    In re:
                             25    PACIFIC GAS AND ELECTRIC
                             26    COMPANY,

                             27                                 Debtor.

                             28   Tax I.D. No. XX-XXXXXXX


                             Case: 19-30089      Doc# 136     Filed: 02/01/19   Entered: 02/01/19 10:07:00      Page 1 of 3
                              1          Upon the Motion, dated January 29, 2019 (the “Motion”),1 of PG&E Corporation (“PG&E

                              2   Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession

                              3   (collectively, “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

                              4   Cases”), pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

                              5   Rules”), for an order directing joint administration of their Chapter 11 Cases, all as more fully set forth

                              6   in the Motion; and this Court having jurisdiction to consider the Motion and the relief requested therein

                              7   pursuant to 28 U.S.C. §§ 157 and 1334, Order Referring Bankruptcy Cases and Proceedings to

                              8   Bankruptcy Judges, General Order 24 (N.D. Cal.), and Rule 5011-1(a) of the Bankruptcy Local Rules

                              9   for the United States District Court for the Northern District of California (the “Bankruptcy Local

                             10   Rules”); and consideration of the Motion and the requested relief being a core proceeding pursuant to

                             11   28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

                             12   and the Court having found and determined that notice of the Motion as provided to the parties listed
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                             13   therein is reasonable and sufficient under the circumstances, and it appearing that no other or further
 New York, NY 10153-0119
      767 Fifth Avenue




                             14   notice need be provided; and this Court having reviewed the Motion and the Wells Declaration; and

                             15   this Court having held a hearing on the Motion; and this Court having determined that the legal and

                             16   factual bases set forth in the Motion establish just cause for the relief granted herein; and it appearing

                             17   that the relief requested in the Motion is in the best interests of the Debtors, their estates, creditors,

                             18   shareholders, and all parties in interest; and upon all of the proceedings had before this Court and after

                             19   due deliberation and sufficient cause appearing therefor,

                             20          IT IS HEREBY ORDERED THAT:

                             21          1.      The Motion is granted as provided herein.

                             22          2.      The above-captioned Chapter 11 Cases shall be jointly administered for procedural

                             23   purposes only under Case No. 19-30088 (DM) pursuant to Bankruptcy Rule 1015(b).

                             24          3.      The caption of the jointly administered cases shall read as follows:

                             25

                             26

                             27

                             28   1
                                   Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such
                                 terms in the Motion.
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                              1                               UNITED STATES BANKRUPTCY COURT
                              2                               NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                              3

                              4
                                  In re:                                              Bankruptcy Case
                              5                                                       No. 19 - 30088 (DM)
                                  PG&E CORPORATION
                              6                                                       Chapter 11
                                            - and -
                              7                                                       (Lead Case)
                                  PACIFIC GAS AND ELECTRIC
                              8   COMPANY,                                            (Jointly Administered)
                              9                                   Debtors.
                             10

                             11   □         Affects PG& Corporation
                                  □         Affects Pacific Gas and Electric
                             12             Company
                                  □         Affects both Debtors
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                                  * All papers shall be filed in the Lead Case,
      767 Fifth Avenue




                             14   No. 19-30088 (DM).
                             15

                             16   4.       A docket entry shall be made in each of the above-captioned Chapter 11 Cases substantially as
                                                                                  follows:
                             17
                                           An order has been entered in accordance with Bankruptcy Rule 1015(b) and Bankruptcy
                             18            Local Rule 1015-1 directing the procedural joint administration of the Chapter 11 Cases
                             19            as set forth in the Motion of Debtors Pursuant to Fed. R. Bankr. P. 1015(b) for Entry of
                                           Order Directing Joint Administration of Chapter 11 Cases, as filed on the docket in
                             20            Case No. 19-[_____-DM]. The docket in Case No. 19-30088-DM should be consulted
                                           for all matters affecting the case.
                             21
                                           5.     Nothing contained in this Order shall be deemed or construed as directing or otherwise
                             22
                                  affecting the substantive consolidation of any of the above-captioned Chapter 11 Cases.
                             23
                                           6.     The Debtors are authorized to take all steps necessary or appropriate to carry out the
                             24
                                  relief granted in this Order.
                             25
                                           7.     This Court shall retain jurisdiction to hear and determine all matters arising from or
                             26
                                  related to the implementation, interpretation, or enforcement of this Order.
                             27
                                                                          ** END OF ORDER **
                             28


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                                                     JOINT ADMINISTRATION                                           Page 3 of 3
